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                               LAWS
                                          OF THE




        STATE OF NEW YORK
                                       PASSED AT THE




           One Hundred and Fourteenth Session

                                          OF THE




                            LEGISLATURE,

           BEGUN   JANUARY SIXTH, 1891, AND ENDED APRIL THIRTIETH, 1891,
                            IN THE CITY OF ALBANY.




                                      ALBANY:
                          BANKS   &   BROTHERS, PUBLISHERS.
                                           1891.
                               \
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       Chap.   105.]   ONE HUNDRED AND FOURTEENTH                           SESSION.      127


                                CHAP. 105.
             AN ACT to revise the charter of the city of Buffalo.
       Approved by the Governor March 27, 1891.   Passed,   three-fifths being present.
         The People of the State of Neto     York, represented        in Senate and
       Assembly, do enact as follows:

                                      TITLE I.
                                      THE CITY.
          Section 1. The city of Buffalo shall be bounded as follows: Begin- %£jDi "
       ning at a point where a line drawn parallel with and thirteen hundred artes.
       and fifty-three feet distant, and southerly at right angles from the
       northerly line of lot one hundred and three on the "mile strip" of
       the New York state reservation on the Niagara river, will intersect
      the east bank of the Niagara river, and running thence easterly and
      parallel with said northerly line of said lot one hundred and three to
      the New York state reservation line, including so much of said lot
      one hundred and three as lies southerly of the line thus establishing
      and excluding so much of the "Jones mile square," so called as lies
      northerly of said line; thence southeasterly along the northeasterly
      bounds of the said" "Jones mile square" and the New York state
      reservation line the following courses and distance, to wit: South
      forty degrees east, two chains and sixty links; south thirty-five degrees
      east, seven chains; south thirty degrees east, seven chains; south                   ,
      twenty-five degrees east, seven chains, and south twenty degrees east,
      one chain and eighty-three links to the northwesterly corner of town
      ship number eleven, in the eighth range of townships of the Holland
      Land Company's survey; thence easterly along the northerly line of
      said township, to the northeasterly corner thereof; thence easterly,
      along the northerly line of said township, to the northeasterly
      corner thereof; thence easterly, along the northerly line of lot
      number sixty-six of the eleventh township and seventh range,
      to the northeasterly corner of said lot number sixty-six; thence
      southerly, along the easterly line of said lot number sixty-six,
      to the southeasterly corner thereof; thence         easterly,   along the
      southerly line of lots numbers sixty-five, fifty-eight, fifty-seven
      and fifty-six to the southeasterly corner of said lot fifty-six; thence
      northerly along the easterly Hue of lots numbers forty-six, forty-five,
      forty-four, forty-three, forty-two and forty-one, to the southwesterly
      corner of lot number thirty-two and the southeasterly corner of lot
      number forty-one in said last-mentioned township; said corners being
      also a point in the northerly line of the Buffalo Creek Indian reserva
      tion, as surveyed by James Sperry, eight chains and eighty-two links
      easterly from the northwesterly corner of lot number one hundred
      and forty-eight and one-half; thence south one degree and fifty-one
      minutes west, two hundred and eighty-eight chains and seventy-four
      links to a point in the southerly line of lot number two hundred and
      seventy-five of said reservation, and eighteen chains and forty-eight
      links easterly from southwesterly corner of said lot number two hun
      dred and seventy-five; thence westerly along the southerly line of lots
       numbers two hundred and seventy-five, two hundred and sixty-four,
       two hundred and sixty-three and forty-two, to the southwesterly cor
       ner of said lot number forty-two; thence westerly on the same course
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          Arrest or   forthwith      arrest all persons there found offending against any law,
          persons       an(j sha}i 8ejze aj] implements of gaming, lottery tickets and lottery
          seizure of policies found therein, and convey any person        so arrested before the
          inents.       police justice, and bring the articles so seized to the office of the
                        superintendent.      It shall be the duty of the superintendent to cause
                        the arrested person or persons to be rigorously prosecuted and the
                        seized articles to be destroyed.
          Patrolmen        § 206. The superintendent shall detail, on the day of any election
               s
          pons1*0"0"
          '"'
                        *u      c*tv' an(^ on tne n'&ht an(i day following if necessary, one or
                        more patrolmen to each election poll, who may have access to the room
                        or place in which the ballots are being received and counted.        The
          Ballot-       board shall provide ballot and other boxes, for use at any election iu
                        the city, and provide for the custody of such boxes at all times, except
                        during the taking, receiving and counting of ballots. The city shall
                        pay the expenses of procuring and taking care of such boxes as are
                        used at elections.
          Measures         § 207. The superintendent shall take proper measures to have elec-
          e?ec"i'oJnsrlyti°ns conducted in an orderly and fair manner, as provided        by the
                        election laws of the state.
          Fees not         § 208. No fees or compensation whatever shall be charged or re-
                        ce'Vfi^ by any member of the police force, except from the city nr
          abiowith "
          outcou-       county for the arrest, confinement or discharge of any person, or for
          Bent-
                        mileage and travel, or for serving any process, or for discharging any
                        other duty required by this act, without the consent and approval of
                        the board, nor shall any such fee or compensation be charged or re
                        ceived by any officer or citizen for the arrest of any person charged
                        with crime, or for the service of any process in any criminal case, with-
          Travehng      out such consent and approval. The actual, necessary and reasonable
          bowTudt traveling expenses, which shall include board as well as transportation,
          ted and       incurred by any member of the police force, or by any citizen who may
          paid'
                        have been selected to execute any process issued within the city, in
                        executing any such process or discharging any duty required of him
                        by the district attorney of the county of Erie, or by any police justice,
                        judge of a court of record, or criminal court held within the city, shall
                        be audited and allowed by the board of police, and be paid by the
          Affidavit     superintendent, but such charges shall only be allowed upon the affi-
          turespendl davit of the person making them that such expenditures have been
                        actually and necessarily made and shall not include any items for trav
                        eling expenses in cases wherein transportation has been furnished to
                      the party gratuitously.
          Permits        $ 209. The superintendent may, upon application in writing, setting
          pistols1    forth under oath sufficient reasons, issue to any person a permit in
                      writing to carry a pistol or pistols in the city. If such person shall be
                      a private watchman, whose employers recommend the issuing of such
                      permit and whose duties may require the use of such weapon or weap
                      ons, such permit shall be issued without charge.       For all other such
                      permits issued said superintendent shall charge and receive an annual
                      fee of two dollars and fifty cents, in advance.   Such permit shall not
                      continue in force for more than one year, but may in the discretion of
                      the superintendent, be revoked, or renewed from time to time upon
                      the payment in advance of the fee of two dollars and fifty cents for
          Reeistra-   each year.    The superintendent shall keep a register, upon which
          tion there- giiau
                            De entered  the name, residence and occupation of every person
                      to whom ho shall issue such permit, the date of issue or renewal, and
          Deposit of the fee received for the same; and all the fees so received by him shall
                      be deposited monthly in the city treasury to the credit and for the nse
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      of the police pension fund hereinafter -mentioned.    No person, other Carrying
      than members of the police force, regularly elected constables, the weapons'1
      sheriff of Erie county, and his dnly appointed deputies, shall, in the prohibited.
      city, carry concealed upon or about his person, any pistol pr revolver,
      or other-dangerous weapon or weapons, without having first obtained
      a permit, as hereinbefore provided; and such permit shall be produced Exhibt-
      and exhibited by any pqrson holding the same, upon the request of a JJ^mlts
      member of the police force.    A violation of any of the provisions of Penalty.
      this section shall be a misdemeanor and punishable as such; and all
      fines imposed and collected for such violations shall be deposited to Deposit of
                                                                              aue8'
      the credit of said pension fund by the clerk of the court imposing the
       same.
          § 210. The superintendent shall, either personally or through the Dog   Ucen3es-
       captains of the respective precincts, subject to such reasonable regu-
      lations as the board may, from time to time, adopt, issue licenses to
      residents of the city who own or keep a dog or dogs, to permit such
      dogs to run at large within the city limits.      Each dog must, at all coiiartobe
                                                                                  worn'
      times, wear a suitable collar, to which shall be attached a tag or plate,
      to be furnished by the superintendent bearing the number of the
      license issued for it, and all dogs so licensed shall be subject to such
      provisions of law or ordinances as may be enacted.      Such licenses shall j^jj10*
      be for the term of one year, and shall only be granted upon t^.DBeaa
      the payment, in advance         of the sum of one dollar for each
      dog and two dollars for each bitch so owned or kept. It shall be
      the duty of every person residing in the city, who owns or keeps such yjpy0*'
      an animal to apply to the captain of the precinct in which he resides, licenses,
      or to the superintendent for a license for each such animal so owned
      or kept by him; and if such person fail to apply for and takeout such
      license within twenty days after being notified so to do by any member Penalty,
      of the police force, he shall for each offense, be liable to a fine of five
      dollars, to be sued for and collected in the municipal court of Buffalo,
      upon the complaint of the superintendent or any member of the police
      force, together with the cost of such proceeding. Any member of the Jj^fo"0"
       police force is authorized to destroy by any means other than poison- dogs.?
      ing any such animal not duly licensed and whose owner is not known
      or who fails to comply with this section. The superintendent shall Eecord-
      keep a record of all licenses issued, and shall deposit all fees received J^"^01
      therefor with the treasurer of the city, who shall credit the same to fines,
      the police pension fund. All fines collected under the provisions of
      this section shall be deposited to the credit of said fund.
         § 21 1. All rewards or gifts that may be paid or given to any member of Son^Ed?"
      the police force for his service, except when the board allow him to now .
                                                                                 create
      retain the same, and all moneys arising from the sale of unclaimed
      goods remaining for the space of one year in the hands of the clerk of
      the board, and all fines imposed by the board upon members of the
      police force, and all fees received and fines imposed under the two pre
      ceding sections, and all moneys, pay, compensation or salary or any part
      thereof, forfeited, deducted, or withheld from any member or members
      of the police force, for or on account of absence for any cause, lost or
      sick time, sickness or other disability, physical or mental, shall be paid
      monthly by the board, and five per centum of all fees for licenses for the
      sale of liquors, wines, ale and beer, and five per centum of all fines and
      penalties imposed for any violation of the excise law shall be paid
      weekly by the board of excise (provided, however, that the said five
      per centum of license fees, fines and penalties shall not exceed the sum
      of fifteen thousand dollars in any one year) all of which sum shall be
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